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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                    FILED
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                                                                                                           NORTHERN DISTRICT OF CALIFORNIA
                  United States of America                          )                                               SAN FRANCISCO
                             v.                                     )
                                                                    )     Case No.3:20-mj-71681 MAG
                   BENNIE POWELL JR.
                    JONAE DICKSON                                   )
                   CAROLYN POWELL                                   )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                9/19/2019 to 11/29/2019         in the county of           San Francisco                    in the
     Northern          District of            California       , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. 1349                                  Conspiracy to commit bank fraud (Bennie Powell Jr., Jonae Dickson, Carolyn
                                                Powell)
                                                Max. Penalties: 30 years’ imprisonment, 5 years’ supervised release,
                                                $1,000,000 fine, $100 special assessment, forfeiture.

18 U.S.C. 1028A(a)(1)                           Aggravated Identity Theft (Bennie Powell Jr.)
                                                Penalty: Mandatory minimum sentence of 2 years’ imprisonment, to run
                                                consecutively to the punishment provided for the predicate felony.

         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
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                                                                                              /s/ Sukhdeep Singh
                                                                                              Complainant’s signature
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                                                                                  Sukhdeep Singh, USPIS Postal Inspector
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                                                                                               Printed name and title

Sworn to before me E\WHOHSKRQH.


Date: November 18, 2020
                                                                                                 Judge’s signature

City and state:                         San Francisco, CA                          Hon. Sallie Kim, U.S. Magistrate Judge
                                                                                               Printed name and title
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              AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR COMPLAINT


         I, Sukhdeep Singh, a Postal Inspector with the U.S. Postal Inspection Service (“USPIS”),

being duly sworn, state:

                                         INTRODUCTION


         1.      This affidavit is made in support of an application under Rule 4 of the Federal

Rules of Criminal Procedure for a criminal complaint against Bennie James POWELL JR., Jonae

Laposha DICKSON, and Carolyn Sharane POWELL; an arrest warrant authorizing the arrest of

Bennie POWELL JR.; an arrest warrant authorizing the arrest of Jonae DICKSON; and an arrest

warrant and summons for Carolyn POWELL, for the violations of federal criminal law identified

below.


Count One: Title 18, United States Code, Section 1349

         2.      From at least on or about September 2019 up to and including at least on or about

November 2019, in the Northern District of California and elsewhere, Bennie POWELL JR.,

Jonae DICKSON, Carolyn POWELL, and others known and unknown, willfully and knowingly

conspired and agreed together and with each other to commit bank fraud, in violation of Title 18,

United States Code, Section 1344.

         3.      It was a part and object of the conspiracy that, Bennie POWELL JR., Jonae

DICKSON, Carolyn POWELL, and others known and unknown, willfully and knowingly would

and did execute a scheme and artifice to defraud financial institutions, the deposits of which were

then insured by the Federal Deposit Insurance Corporation, and to obtain moneys, funds, credits,

assets, securities, and other property owned by, and under the custody and control of, such

financial institutions, by means of false or fraudulent pretenses, representations, and promises, in
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violation of Title 18, United States Code, Section 1344.

       4.      Bennie POWELL JR. participated in the scheme and, in furtherance of the

conspiracy and to effect the illegal object thereof, on or about November 18, 2019, he knowingly

executed a scheme to defraud Wells Fargo, which was then insured by the Federal Deposit

Insurance Corporation, by depositing at least five stolen and forged United States Postal Service

(“USPS”) money orders, which were stolen from the USPS in New York and never validly

issued, at a Wells Fargo branch located in San Francisco, in the Northern District of California .

       5.      Wells Fargo and the other banks at which Bennie POWELL JR., Jonae

DICKSON, and Carolyn POWELL deposited stolen and forged postal money orders are

financial institutions that were then insured and are currently insured by the Federal Deposit

Insurance Corporation.

       6.      The banks lost money as a result of the defendants’ scheme to defraud.


Count Two: Title 18, United States Code, Sections 1028A(a)(1), 1028A(b), and 2

       7.      On or about November 18, 2019, in the Northern District of California, Bennie

POWELL JR. knowingly did transfer, possess, and use, without lawful authority, a means of

identification of another person, during and in relation to a felony violation enumerated in Title

18, United States Code, 1028A(c), to wit, Bennie POWELL JR. used a counterfeit driver license

that contained his own photograph but the name and date of birth of a third party without their

knowledge or consent, and without legal authority, to deposit at least five stolen and forged

postal money orders at Wells Fargo bank in San Francisco, during and in relation to the

conspiracy to commit bank fraud charged in count one of this complaint.

                                SOURCES OF INFORMATION


       8.      This affidavit is submitted for the limited purpose of a securing a criminal

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complaint, three arrest warrants, and a summons. I have not included every fact known to me

concerning this investigation. Instead, I have set forth only the facts necessary to establish

probable cause that violations of the federal laws identified above have occurred.

       9.        I have based my statements in this affidavit on my training and experience,

personal knowledge of the facts and circumstances obtained through my participation in this

investigation, information provided by other agents and law enforcement officers, including

officers from the Vallejo Police Department (“VPD”), information provided by reports prepared

by other agents and law enforcement officers, and information provided by records and

databases. Where I refer to conversations and events, I often refer to them in substance and in

relevant part rather than in their entirety or verbatim, unless otherwise noted. This affidavit also

reflects my current understanding of facts relating to this investigation, but my understanding

may change in the future as the investigation proceeds.

                                   AFFIANT BACKGROUND
       10.       I am a United States Postal Inspector employed by the USPIS, the federal law

enforcement arm of the United States Postal Service. I have been so employed since April 2016.

Prior to becoming a postal inspector, I served in the USPS for approximately eleven years in

various management positions.

       11.       I am currently assigned to the San Francisco Division Contraband Interdiction and

Investigation Team, based in Richmond, CA, and have been so assigned since October 2020. I

was previously assigned to the San Francisco Mail Theft and External Crimes Team, which

investigates crimes against the USPS and attacks on, and the misuse of, the U.S. mail system.

Such crimes include theft of mail, access device fraud, identity theft, assaults, robberies, and

burglaries.

       12.       I have completed Basic Postal Inspector’s Training, a twelve-week federal law

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enforcement training course, which includes instruction on the criminal investigation of mail

theft, mail fraud, identity theft, internet crimes, assaults, robberies, burglaries, and prohibited

mailings (such as narcotics). During my employment as a postal inspector, I have participated in

investigations involving mail theft, identity theft, access device fraud, check fraud, assaults,

robberies, and burglaries. I have interviewed witnesses and cooperating individuals, and worked

with veteran postal inspectors, federal criminal investigators, and police detectives on

investigations.

                                     APPLICABLE STATUTES


          13.      Title 18, United States Code, Section 1349 states that “[a]ny person who attempts

or conspires to commit any offense under this chapter shall be subject to the same penalties as

those prescribed for the offense, the commission of which was the object of the attempt or

conspiracy.”

          14.      Title 18, United States Code, Section 1344 provides that “[w]hoever knowingly

executes, or attempts to execute, a scheme or artifice (1) to defraud a financial institution; or (2)

to obtain any of the moneys, funds, credits, assets, securities, or other property owned by, or

under the custody or control of, a financial institution, by means of false or fraudulent pretenses,

representations, or promises; shall be fined no more than $1,000,000 or imprisoned not more

than 30 years, or both.”

          15.      Title 18, United States Code, Section 1028A(a)(1) provides that “[w]hoever,

during and in relation to any felony violation enumerated in subsection (c), knowingly transfers,

possesses, or uses, without lawful authority, a means of identification of another person shall, in

addition to the punishment provided for such felony, be sentenced to a term of imprisonment of 2

years.”


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       16.      Section 1028A(c)(5) expressly states that a “felony violation enumerated in

subsection (c)” includes “any offense that is a felony violation of any provision contained in

chapter 63 (relating to mail, bank, and wire fraud).” A violation of 18 U.S.C. § 1349, which is a

statute contained in chapter 63, is a predicate felony offense for purposes of charging a violation

of 18 U.S.C. § 1028A(a)(1).

       17.      Title 18, United States Code, Section 1028(d)(7)(A) defines the term “means of

identification” to include “any name or number that may be used, alone or in conjunction with

any other information, to identity a specific individual, including any name, social security

number, date of birth[.]”

                         FACTS SUPPORTING PROBABLE CAUSE


   A. Overview of Postal Money Orders and the Conspiracy

       18.      USPS postal money orders can be purchased at any United States Post Office in

an amount up to $1,000 U.S. dollars. Postal money orders (“PMO”) contain a unique serial

number that is pre-printed on each postal money order. PMO contain blank lines for the name

and address of the sender, as well as the payee, of the postal money order. When a customer

purchase a postal money order at a post office, the USPS clerk prints the date of purchase, post

office code, a number identifying the clerk, and amount of the purchase on the money order. The

customer fills in the name and address information for the sender and payee.

       19.      The charges in this complaint relate to a scheme in which POWELL JR.

purchased stolen USPS postal money orders through end-to-end encrypted channels or chat

forums on Telegram Messenger App. The blank PMO were originally stolen by third party

individuals from USPS post offices in New York. They were then falsely “issued” by an

intermediary who printed the blank PMO with dates, zip codes, clerk number, and dollar


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amounts, usually $900 or $1,000 (the maximum amount for a money order). POWELL JR.

purchased these stolen and forged PMO and filled in the name and address of the sender, as well

as the name and address of the payee. He typically wrote his own name or the name of a third

party in the payee section and then cashed/deposited the stolen and forged PMO either in his own

name or in the name of the third party at post offices and banks in San Francisco and other cities,

both in the Northern District of California and outside the District. When POWELL JR. used the

names of third parties, he typically presented fraudulent identification in the form of a counterfeit

driver license containing his own photograph but the personal identifying information (“PII”) of

a third party without the third party’s knowledge or authorization, including the third party’s real

name and/or date of birth.

       20.      The evidence obtained and reviewed by USPIS further demonstrates that

POWELL JR. recruited and conspired with other individuals, namely DICKSON and Carolyn

POWELL to cash stolen and forged PMO, which were stolen from USPS post offices in New

York and never validly issued, at post offices and banks located in the Northern District of

California and elsewhere. DICKSON cashed at post offices and deposited at banks stolen and

forged PMO, both in her own name and in the name of third party, and used a counterfeit driver

license containing her own photograph but the PII of a third party without the individual’s

knowledge or authorization to execute the fraudulent transactions. Carolyn POWELL typically

deposited stolen and forged PMO into her own bank account, and then withdrew the funds. She

then gave the funds to POWELL JR., who in turn paid her a portion of the funds.

       21.      On November 22, 2019, USPIS postal inspectors and VPD officers executed a

state search warrant at POWELL JR.’s residence in Vallejo, California, and seized various items

of contraband along with two cellular phones belonging to POWELL JR. and his girlfriend who



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will be referred to herein as “S.B.” On August 7, 2020, I executed a search of the two seized

cellular phones pursuant to a federal search warrant issued by this Court.

           22.       My review of evidence from the search of POWELL JR.’s residence and two

phones provide the basis for many of the facts contained in this affidavit.

       B. Bennie POWELL JR., Jonae DICKSON, and Carolyn POWELL Conspired to Cash
          Stolen and Forged PMO at Post Offices and Banks.

                     1. POWELL JR. Cashed/Deposited at Post Offices and Banks Stolen and
                        Forged PMO in his Own Name at Post Offices and Banks.

           23.       On or about May 24, 2019, POWELL JR. used his own California driver license

to cash two stolen and forged PMO at Richmond Main Post Office and Richmond Mira Vista

Station, respectively, which are both located in Richmond in the Northern District of California.

POWELL JR. listed his girlfriend, S.B. in the “From” section of the money orders. On May 31,

2019, POWELL JR. deposited two more PMO at the Richmond Main Post Office. This time, he

used a counterfeit California driver license to obtain money.

           24.       A review of USPS records revealed that between June 6, 2019 and November 1,

2019, POWELL JR. deposited an additional five stolen and forged PMO into a Wells Fargo bank

account ending in 3884 at various Wells Fargo bank ATMs in Vallejo, California 1 and the Wells

Fargo – 16th Street SF Branch located in San Francisco, California. Wells Fargo records

indicated that this account belongs to POWELL JR. As explained in further detail below, during

the search of POWELL JR.’s residence on November 22, 2019, postal inspectors seized a receipt

for a PMO that was cashed in the amount of $900; this receipt was attached to a Wells Fargo

bank deposit receipt dated October 29, 2019 for a bank account ending in 3884.




1
    Vallejo is located in the Eastern District of California.


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               2. Powell Cashed or Attempted to Cash Stolen and Forged PMO at Post
                  Offices Using a Counterfeit Driver License that Contained Stolen PII
                  from a Victim Called B.M.

       26.     On or about October 11, 2019, POWELL JR. went to the San Francisco Post

Office – Sutter Station and cashed a stolen and forged PMO in the amount of $900. POWELL

JR. presented a counterfeit California driver license in the name of an individual who will be

referred to herein as “B.M.” to cash the money order. The license contained a photograph of

POWELL JR. but B.M.’s PII, including B.M.’s name, address and date of birth.

       27.     On or about October 15, 2019, POWELL JR. went to the San Francisco Post

Office – Mission Station and cashed another stolen and forged PMO in the amount of $900.

POWELL JR. again presented the counterfeit driver license in the name of B.M. to cash the

PMO.

       28.     I later reviewed surveillance video footage from the Sutter Station and Mission

Station post offices and identified POWELL JR. as the individual who cashed the two money

orders on October 11 and October 15, respectively. My identification of POWELL JR. was

based on my personal interaction with POWELL JR. during the execution of the search warrant

at his residence as well as the photo of POWELL JR. on record with the California Department

of Motor Vehicles. A copy of the counterfeit driver license in the name of B.M. and still images

from the video footage of POWELL JR. at the Sutter Station and Mission Station post offices are

depicted below.




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     26254634062          San Francisco           P&DC        – $900              Yes           09/28/2019
                          Finance Station

     26254634073          San Francisco Post Office - $900                        Yes           09/28/2019
                          Bryant Station

     26254634084          San Francisco Post Office – $900                        Yes           09/28/2019
                          Mission Station9

     26254634477          San Francisco Post Office – $900                        Yes           10/05/2019
                          18th Street Station10

     26254634490          San Francisco Post Office – $900                        Yes           10/05/2019
                          Steiner Station11

     26254634501          San Francisco Post Office – $900                        Yes           10/05/2019
                          Pine Street Station12

     26254634973          San Francisco Post Office – $900                        Yes           10/10/2019
                          Fox Plaza Station13

     26254648078          San Francisco Post Office – $900                        Yes           10/10/2019
                          Sutter Station14

     26254634545          San Francisco Post Office – $900                        Yes           10/11/2019
                          Sutter Station

     26254634995          San Francisco Post Office – $900                        Yes           10/11/2019
                          Mission Station

     26254648012          San Francisco Post Office – $900                        Yes           10/11/2019
                          18th Street Station




9
    San Francisco Post Office – Mission Station is located at 1198 S Van Ness Ave, San Francisco, CA 94110.
10
     San Francisco Post Office – 18th Street Station is located at 4304 18th St, San Francisco, CA 94114.
11
     San Francisco Post Office – Steiner Station is located at 1849 Geary Blvd, San Francisco, CA 94115.
12
     San Francisco Post Office – Pine Street Station is located at 1400 Pine St, San Francisco, CA 94109.
13
     San Francisco Post Office – Fox Plaza Station is located at 1390 Market St, San Francisco, CA 94102.
14
     San Francisco Post Office – Sutter Station is located at 150 Sutter St, San Francisco, CA 94104.


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  26254648427       San Francisco Post Office - $900              No           10/11/2019
                    Bryant Station

  26254648451       San Francisco Post Office – $900              Yes          10/12/2019
                    Mission Station

  26254648440       San Francisco Post Office – $900              Yes          10/15/2019
                    Mission Station

  26254634850       San Francisco Post Office – $900              Yes          10/17/2019
                    18th Street Station

  26254648438       San Francisco Post Office – $900              Yes          10/18/2019
                    Sutter Station


               3. POWELL JR. Deposited or Attempted to Deposit Stolen and Forged
                  PMO at Wells Fargo Using a Counterfeit Driver License that Contained
                  Stolen PII from a Victim Called T.S.

       31.     On or about November 14, 2019, POWELL JR. opened a checking account

ending in 6347 in the name of an individual who will be referred to herein as “T.S.” at a

Westamerica Bank branch in Vallejo, California. POWELL JR. identified himself as T.S. and

provided T.S.’s PII, including T.S.’s name, date of birth and social security number. He used a

counterfeit Georgia driver license in T.S.’s name, but containing POWELL JR.’s photograph and

listing POWELL JR.’s home address in Vallejo, California. I have reviewed the surveillance

video footage from Westamerica Bank on this date and identified the individual in the video as

POWELL JR. based on POWELL JR.’s photograph in his actual driver license and his prior

booking photographs as well as my own interaction with POWELL JR. on November 22, 2019.

Later on the same day, November 14, 2019 POWELL JR. returned to the Westamerica Bank –

Vallejo Branch and deposited two stolen and forged PMO into the account ending in 6347, each

of which was made out to T.S. in the amount of $1,000. POWELL JR. later withdrew the funds.




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the Wells Fargo branch in Vallejo, California on or about November 14, 2019 in the name of

T.S. According to the consumer account application form and signature card for this Wells

Fargo account ending in 1342, the individual who opened this account provided T.S’s full name,

T.S.’s date of birth, T.S.’s social security number, and POWELL JR.’s home address in Vallejo,

California. A counterfeit driver license in the name of T.S. was also used to open the account.

The information listed on the bank signature card for the Wells Fargo checking account ending

in 1342 matches the PII that POWELL JR. provided to Westamerica Bank – Vallejo Branch to

open a Westamerica Bank checking account ending in 6347 on the same day. Furthermore, the

same signature in the name of T.S. is found on the Westamerica Bank records, Wells Fargo

records, and the PMO that were deposited into the two checking accounts in the name of T.S.

Based on this information, I believe that POWELL JR. opened the Wells Fargo checking account

ending in 1342 in the name of T.S.

       37.      A review of Wells Fargo records further revealed that on or about November 18,

2019, POWELL JR. deposited five stolen and forged PMO made out to T.S., each in the amount

of $1,000, into the Wells Fargo bank account ending in 1342 at the Wells Fargo – 16th Street SF

Branch in San Francisco. He presented the same counterfeit driver license, containing POWELL

JR.’s photograph but T.S’s name and date of birth, which he had used to deposit stolen and

forged PMO into the Westamerica Bank account ending in 6347.

       38.      A review of the serial numbers of all the PMO deposited by POWELL JR. in the

name of T.S. at Westamerica Bank and Wells Fargo indicated that they were stolen from the

USPS in New York and never validly issued. The total loss amount associated with these

fraudulent transactions is approximately $10,000. The table below summarizes the fraudulent

transactions:



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       43.     Based on my review of bank records for US Bank account ending in 2746, this

account and the associated debit card ending in 3074 were opened on October 28, 2019 in the

name of C.G. Additionally, the records suggest that POWELL JR. opened a US Bank cash

VISA signature card ending in 2881 in the name of C.G. The address and primary contact phone

number listed for the three accounts are POWELL JR.’s own home address in Vallejo, California

and the phone number registered to POWELL JR.’s cellular phone that was seized during the

search of his residence.

       44.     US Bank also provided surveillance video footage from its Vallejo branch, which

shows POWELL JR. at the branch location on or about November 4, 2019. On or about this

date, POWELL JR. used a debit card ending in 3074 in the name of G.C. to conduct a $2,100

cash withdrawal from the account ending in 2746. Law enforcement officers recovered a receipt

for this transaction from POWELL JR.’s residence. I identified POWELL JR. as the suspect

shown on the surveillance video based on my personal interaction with POWELL JR. at his

residence on November 22, 2019, as well as the photo of POWELL JR. on record with the

California Department of Motor Vehicles. POWELL JR. signed the name of C.G. on the

withdrawal slip for this transaction.

                                                   A still image from US Bank – Vallejo
                                                   Branch video surveillance footage showing
                                                   POWELL JR., who conducted a $2,100 cash
                                                   withdrawal from an account ending in 2746
                                                   and registered to C.G.




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       46.     Accordingly, there is probable cause to believe that from at least in or around

May 2019 up to and including at least in or around November 2019, POWELL JR. successfully

cashed at post offices and deposited at banks in the Northern District of California and elsewhere

no fewer than 46 stolen and forged PMO in his own name as well as in the names of B.M., T.S.,

G.K., and C.G. POWELL JR. used at least four counterfeit driver licenses containing his own

photograph but the PII of B.M., T.S., G.K., and C.G., including their names and/or dates of birth,

to conduct these fraudulent transactions at banks and post offices. All of these PMO were stolen

from the USPS in New York and were never validly issued. In addition, for the reasons set forth

below, there is probable cause to believe that POWELL JR. conspired with DICKSON and

Carolyn POWELL to commit bank fraud, in violation of 18 U.S.C. § 1349.

       47.     There is also probable cause to believe that POWELL JR. also committed the

crime of aggravated identity theft, in violation of 18 U.S.C. § 1028A(a)(1), in the Northern

District of California. Specifically, on or about November 18, 2019, POWELL JR. used without

lawful authority a counterfeit driver license in the name of T.S., which contained a photograph of

POWELL JR. but the PII of T.S., including T.S.’s real name and date of birth, to deposit five

stolen and forged postal money orders at Wells Fargo – 16th Street SF Branch in San Francisco,

California, during and in relation to the conspiracy to commit bank fraud.

               6. DICKSON Cashed at Post Offices and Deposited at Banks Stolen and
                  Forged Money Orders in her Own Name and in the Name of a Third Party
                  Using a Counterfeit Driver License that Contained Stolen PII from a
                  Victim Called K.T.

       48.     During the search of POWELL JR’s residence, postal inspectors seized a

completed but not yet cashed money order in the amount of $1000. The PMO was made out to

Jonae DICKSON at an address located in San Francisco. I found an exact match for DICKSON

and her address in law enforcement databases, and obtained a copy of DICKSON’s driver license


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and prior booking photographs. I also knew that a female suspect had recently used a counterfeit

California driver license in the name of an individual who shall be referred to herein as “K.T.” to

cash stolen and forged PMO at various post offices in San Francisco. I identified DICKSON as

the female suspect based on a visual comparison between DICKSON’s booking photograph and

the photograph in the counterfeit driver license. DICKSON’s physical characteristics match

those of the individual in the photograph in the counterfeit driver license and the persons shown

in the two photographs have the same distinctive neck tattoo that starts with the letter “J.”

Additionally, during their search of POWELL JR.’s cellular phone, postal inspectors found a

passport-sized photograph of DICKSON in his phone images.

           49.      Based on my search of POWELL JR’s cellular phone, I learned that during the

period in or around September 2019 to in or around November 2019, POWELL JR. and

DICKSON texted each other multiple times about creating counterfeit driver licenses using

stolen PII of individuals without their knowledge or consent, which they would then use to cash

or deposit stolen and forged PMO. Below are relevant excerpts from text messages between

DICKSON and POWELL JR.

           50.      On September 19, 2019, DICKSON texted POWELL JR.:

                             DICKSON:                  K.T.21   Redacted                          ca
                                                       95820
                             DICKSON:                  G.K.22   Redacted            ca 93941 brown
                                                       eyes bl                     ’0"

                    On September 21, 2019, POWELL JR. and DICKSON exchanged the following
                    messages:



21
     The actual text message contained K.T.’s full name.
22
     The actual text message contained G.K.’s full name.


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                       POWELL JR.:           You got that face

                       DICKSON:              Yes I’m meeting Courtney in the o for the blanks

                       POWELL JR.:           Ok I’m on my way out there

       51.     Based on my training, experience, and knowledge of this investigation, I believe

that DICKSON and POWELL JR. shared the personal identifying information of K.T. and G.K.,

and this information was later used to produce counterfeit driver licenses for the purpose of

cashing stolen and forged PMO. I believe POWELL JR. was referring to a counterfeit ID when

he said, “You got that face.”

       52.     In October 2019, POWELL JR. and DICKSON discussed via text messages

where to cash stolen and forged PMO at various post offices in San Francisco.

               On October 4, 2019, POWELL JR. and DICKSON exchanged the following text

               messages:

                       POWELL JR.:           Which post office you went too

                       DICKSON:              1st street by the pier

                       POWELL JR.:           Yup

                       POWELL JR.:           Post office on Evans

                       DICKSON:              ok

                       DICKSON:              Why you getting go to the pier

                       POWELL JR.:           Trying this one on pine real fast

                       DICKSON:              Ok

                       POWELL JR.:           Wanna meet at that one?

                       DICKSON:              Don’t go to the one on market

                       DICKSON:              Yea

                       POWELL JR.:           Ok


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         DICKSON:            Way

         POWELL JR.:         Leaving goin to Bryant one

         DICKSON:            Ok

         DICKSON:            Ima meet you at the Bryant on send me the address

         POWELL JR.:         1600 Bryant st

         DICKSON:            Ok

         POWELL JR.:         Good on 18th too

         DICKSON:            It’s this same lady that helped me before

         DICKSON:            Ok

         POWELL JR.:         Goin to Evans

         DICKSON:            Ok only one teller had 900

   On October 15, 2019, POWELL JR. and DICKSON shared the following

   messages:


         POWELL JR.:         You went to the one by yo house

         DICKSON:            On my way there now

         POWELL JR.:         They got it in south van ness

         DICKSON:            Ok

         DICKSON:            I’m at the one in concord

         POWELL JR.:         Ok

         DICKSON:            She tryna verify it

         POWELL JR.:         Leave

         DICKSON:            She got it

         POWELL JR.:         Tell her

         DICKSON:            Ok



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                      POWELL JR.:            You gone

                      DICKSON:               Leaving now

                      POWELL JR.:            Come out here

                      DICKSON:               Ok

                      DICKSON:               She cashed it

                      POWELL JR.:            Ok

                      POWELL JR.:            Packed smh

                      DICKSON:               You know they got money

                      POWELL JR.:            Hopefully they ain’t on bs

                      DICKSON:               Wya

                      POWELL JR.:            Sutter

       53.     Based on my training, experience, and knowledge of this investigation, I believe

that DICKSON and POWELL JR. exchanged the aforementioned text messages as they were

going around to various post offices in the city of San Francisco to cash stolen and forged PMO.

When DICKSON texted, “She tryna verify it,” she was likely referring to a postal clerk who was

attempting to call the money order verification line to find out whether or not a particular money

order was validly issued by USPS. The dates of the text messages correspond to the dates on

which DICKSON and POWELL JR. used counterfeit driver licenses to cash stolen and forged

PMO in San Francisco.

       54.     A review of USPS records revealed that on or about October 14, 2019, DICKSON

attempted to cash a stolen and forged PMO in the amount of $900 at the San Francisco Post

Office – Mission Station. DICKSON presented a counterfeit driver license in K.T.’s name that

included K.T.’s PII, including as her real name and date of birth, but containing a photograph of

DICKSON. A postal retail clerk determined the PMO to be suspicious due to ink discoloration,


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     26254634117          San Francisco Post Office – $900                      Yes             10/12/2019
                          Excelsior Branch

     26254646054          San Francisco Post Office – $900                      No              10/14/2019
                          Mission Station

     26254648383          Concord – Casa Correo Post $900                       Yes             10/15/2019
                          Office26

     26254648394          San Francisco Post Office – $900                      Yes             10/15/2019
                          Visitation Station27

     26254648405          San Francisco Post Office – $900                      Yes             10/15/2019
                          Excelsior Branch

     26254634534          Wells Fargo – San Francisco $900                      Yes             10/16/2019
                          Branch

     26254646032          Reno    Post     Office            – $900             Yes             10/18/2019
                          Washington Station28

     26254648866          Sparks Post Office (NV) 29             $900           Yes             10/18/2019

     26254648416          Wells Fargo – San Francisco $900                      Yes             10/18/2019
                          Branch

     26254646043          Wells Fargo – San Francisco $900                      Yes             11/29/2019
                          Branch



           57.      DICKSON also deposited several stolen and forged PMO into a JPMorgan Chase

Bank account in her own name. She opened a Chase account ending in 9900 on May 10, 2019 in

the name of Jonae Laporsha Dickson. She provided her address of record and the phone number




26
     Concord – Casa Correo Post Office is located at 4494 Treat Blvd, Concord, CA 94521.
27
     San Francisco Post Office – Visitation Station is located at 68 Leland Ave, San Francisco, CA 94134.
28
     Reno Post Office – Washington Station is located at 1490 Stardust St, Reno, NV 89503.
29
     Sparks Post Office is located at 750 4th St, Sparks, NV 89431.


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              C. POWELL:                   Huh how

              C. POWELL:                   You doing it again you a make your 7

              POWELL JR.:                  I pay 100 off each one wen I fuk with other ppl

              C. POWELL:                   You wanna give me what you give people for they
                                           can get out your hands

              POWELL JR.:                  I’ll give you 200 you my sister

              C. POWELL:                   16 & potrero

              POWELL JR.:                  Man I’m in sd

              C. POWELL:                   I’m on my way what bank you want to go to

              POWELL JR.:                  Same one on I’m still doin mines

              C. POWELL:                   Ok on my way

              POWELL JR.:                  Wya I gotta go downtown

              POWELL JR.:                  ?

              C. POWELL:                   One not working coming

              C. POWELL:                   It worked

              POWELL JR.:                  Ok

       62.    Based on my training, experience, and knowledge of this investigation, I believe

that on or about November 15, 2019, POWELL JR. asked Carolyn POWELL to deposit stolen

and forged PMO into her bank account, and offered to pay her $200 for each PMO that she

cashed. POWELL JR went on to say that he normally pays about $100 to other people, but he

will pay her $200 because she is his sister. In response, Carolyn POWELL agreed to meet up

with him for the purpose of negotiating PMO. A review of Wells Fargo records for Carolyn

POWELL’s account ending in 1783 revealed that she deposited five PMO in the amount of



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$1,000 each at the Wells Fargo – Mission Ocean Avenue branch in San Francisco on November

15, 2019. She confirmed the transactions by texting POWELL that “[i]t worked.”

       63.     Accordingly, there is probable cause to believe that Carolyn POWELL deposited

no fewer than ten stolen and forged PMO at a Wells Fargo bank branch located in San Francisco,

in the Northern District of California. There is also probable cause to believe that POWELL JR.

and Carolyn POWELL conspired to commit bank fraud, in violation of 18 U.S.C. § 1349.

   C. Vallejo Police and USPIS Executed a Search Warrant on POWELL JR.’s
      Residence.

       64.     On or about November 21, 2019, a state search warrant was issued authorizing a

search of the home address in Vallejo, California that POWELL JR. provided to Westamerica

Bank. The next day, VPD officers and USPIS postal inspectors (collectively, “officers”)

executed the warrant. As the officers entered the residence, a man, who was later identified as

POWELL JR., fled the residence on foot through the back patio door. Officers pursued

POWELL JR. and ultimately detained and identified him.

       65.     Officers searched the residence and found indicia that POWELL JR. and S.B.

lived there. They also seized the following items, among others, during their search of the

residence:

       a. Two FedEx envelopes addressed to C.G. at POWELL JR.’s residential address,
          containing a total of 20 stolen and forged blank PMO, each printed in the amount of
          $1,000;

       b. US Bank card ending in 3074 in the name of C.G., and US Bank receipt for account
          ending in 2746;

       c. A completed, but not cashed, stolen and forged PMO made out to DICKSON;

       d. A stolen and forged PMO that was later determined to have been deposited in a Wells
          Fargo bank account in POWELL JR.’s name;




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        e. Bank transaction receipts from Wells Fargo, Bank of America, US Bank, and
           JPMorgan Chase, among others, relating to the deposit of stolen and forged PMO;

        f. Western Union money order and money transfer receipts;

        g. A counterfeit MoneyGram money order in the amount of $1,000 made out to G.K.;

        h. Indicia documents in the name of T.S., C.G., G.K., and personal identifying
           information of other identity theft victims;

        i. Three counterfeit driver licenses, including a license in the name of G.K. (containing
           a photograph of POWELL JR.);

        j. A FedEx envelope containing Westamerica Bank records and a transaction receipt
           dated November 14, 2019 for an account ending in 6347, which POWELL JR.
           opened on or about November 14, 2019 in the name of T.S.;

        k. A book titled “The Master Guide to New Identity”;

        l. A Compact Disk labelled “Identity Theif” [sic]; and

        m. A black hooded sweatshirt with red Nike logo, black jeans, and black Nike jacket
           with white Nike logos on the sleeves. 32

        66.     Images of various items recovered from POWELL JR.’s residence are depicted

below for reference.




32
  Surveillance video footage showed that POWELL JR. wore these items of clothing when he conducted some of
the fraudulent transactions.


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including a counterfeit driver license in the name of K.T. using DICKSON’s photograph and a

counterfeit driver license in the name of G.K. using POWELL JR.’s photograph. On November

20, 2019, POWELL JR. sent Face Man an image of approximately 20 stolen PMO and ten

counterfeit MoneyGram money orders and asked Face Man if he could make a counterfeit ID for

the state of Ohio. Face Man responded, “Yeap all 50 states.”


              REQUEST TO SEAL AFFIDAVIT, CRIMINAL COMPLAINT,

                                  AND ARREST WARRANT

       70.     Based on my training and experience, disclosure of the existence of this affidavit,

the complaint, the arrest warrants, the summons, and related documents may cause the targets or

other co-conspirators unknown at this time to destroy evidence or conceal ongoing criminal

activity, jeopardizing the progress of the ongoing investigation. I therefore request that the Court

seal this affidavit, the complaint, the arrest warrants, the summons, and related documents.

                                         CONCLUSION


       71.     On the basis of my participation in this investigation and the information

summarized above, there is probable cause to believe that between on or about September 2019

and on or about November 2019, in the Northern District of California and elsewhere, Bennie

POWELL JR., Jonae DICKSON, and Carolyn POWELL conspired to commit bank fraud, in

violation of 18 U.S.C. § 1349. In addition, there is probable cause to believe that Bennie

POWELL JR. also committed the crime of aggravated identity theft, in violation of 18 U.S.C.

§ 1028A(a)(1), in the Northern District of California.

                                                     /s/ Sukhdeep Singh
                                                     Sukhdeep Singh
                                                     USPIS Postal Inspector
                                                     United States Postal Inspection Service


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Sworn to before me over the telephone and signed by me pursuant to Fed.R.Crim.P. 4.1 and 4(d)
        18 day of November, 2020.
on this ___



_________________________________________
HONORABLE SALLIE KIM
UNITED STATES MAGISTRATE JUDGE




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